Case 5:18-cv-00043-MFU-JCH Document 33 Filed 05/22/19 Page 1 of 1 Pageid#: 185
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 JIM M Y W .CAM PBELL etal.y
       Plaintiffsy

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                                                 By: M ichaelF.U tbansld
       D efendants.                              ChiefUM ted StatesDistrictJudge

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       Theparéesto thiscasehaveflled ajointsépuladon ofdismissalpursuanttoRule
 41(a)(1)(A)(ii)oftheFederalRulesofCivilProcedure,advisingthattheyhavereacheda
 resoludon ofthism atter.Accordingly,thiscaseisherebyDISM ISSED with prejudiceand
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